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                                          UNITED STATES DISTRICT COURT
  JEANNETTE J. CLACK                       WESTERN DISTRICT OF TEXAS                                 PHILIP J. DEVLIN
    CLERK OF COURT                             OFFICE OF THE CLERK                                    CHIEF DEPUTY
                                          800 FRANKLIN AVE., ROOM 380
                                                WACO, TX 76701


                                                  December 8, 2021


Jennifer A. Kash
Warren Lex LLP
2261 Market Street, No. 606
San Francisco, CA 94114

Re: Civil Case Nos. 6:21‐mc‐01269 – Google LLC v. Terrier SSC, LLC
                    6:21‐mc‐01270 – Google LLC v. BP Funding Trust

Our records indicate that you are not admitted to practice in this Court. Western District of Texas Local
Court Rule AT‐1(f)(1) states:

         In General: An attorney who is licensed by the highest court of a state or another
         federal district court, but who is not admitted to practice before this court, may
         represent a party in this court pro hac vice only by permission of the judge presiding.
         Unless excused by the judge presiding, an attorney is ordinarily required to apply for
         admission to the bar of this court.

           You were included as an attorney of record on a filing in the above‐named cause. If you are
 representing a party, please submit a motion requesting the Court’s permission to appear in the above
 captioned case. (Pro hac vice admission is on a per‐case basis. Previous pro hac admission will not apply
 to future cases.) If you wish to file an application to be fully admitted in the Western District of Texas,
 the application forms and the Local Rules for the Western District of Texas are available on our website
 www.txwd.uscourts.gov. If you are an attorney who maintains his or her office outside of the Western
 District of Texas, the judge may require you to designate local counsel. (Local Rule AT‐2).


           If you have any questions concerning this matter, please contact our office.


                                                   Sincerely,


                                                   Deputy Clerk
